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                UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE




United States of America

     V.                                        Case No . 03-cr-202-01-J D

Luis Antonia Caraballo




                                O R D E R

     Defendant moves to reduce his sentence based upon the recent

amendments to the Federal Sentencing Guidelines regarding cocaine

base ("crack cocaine") offenses (document no . 87) . For the

reasons stated below, the motion to reduce sentence is DENIED .

     On May 1, 2007, the United States Sentencing Commission (the

"Commission") submitted to Congress an amendment to the Federal

Sentencing Guidelines that lowers the guideline sentencing range

for certain categories of offenses involving crack cocaine .

Specifically, the amendment adjusts downward by two levels the

base offense level assigned to each threshold quantity of crack

cocaine listed in the Drug Quantity Table in §2D1 .1 and provides

a mechanism for determining the guideline range for offenses

involving crack cocaine and other controlled substances . This

amendment took effect November 1, 2007 .
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     Pursuant to 28 U .S .C .   § 994(u), the Commission also

determined that this guideline amendment would be applied

retroactively to offenders who were sentenced under prior

versions of the Guidelines Manual and who are incarcerated . Th e

Commission set the effective date for the retroactive application

of this amendment to be March 3, 2008, at which time reductions

in sentence pursuant to 18 U .S .C .     § 3582(c)(2) based on the

retroactive application of the crack cocaine amendment will be

authorized .

     After having reviewed the offense for which the defendant

was convicted in this district and upon which he is presently

incarcerated, it is determined that defendant is not eligible to

seek a reduced sentence under this amendment . The presentence

report (using the November 1,      2004 edition of the Guidelines

Manual) determined the defendant was responsible for 5 .68 grams

of cocaine base, which resulted in a base offense level of 26 .

After applying a three level reduction for acceptance of

responsibility, the defendant's total offense level was

determined to be 23 . Based on the defendant's criminal record,

however, he was determined to be a career offender pursuant to

USSG §4B1 .1 . Therefore, his adjusted offense level was

determined to be 32, his total offense level (after applying a

three level reduction for acceptance of responsibility) to be 29 ,


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his criminal history category to be VI and his advisory guideline

range to be 151 to 188 months .

      During the sentencing hearing the court adopted the facts

and findings set forth in the presentence report and, after

granting a request for a downward departure and a non-guideline

sentence, imposed the following sentence : The defendant was

sentenced to 90 months imprisonment with a recommendation for the

Bureau of Prisons drug treatment program and five years of

supervised release .

      The amended guideline range is determined by substituting

only the retroactive crack cocaine amendment to the guidelines as

applied at the original sentencing and all other guideline

application decisions for the original sentencing remain

unaffected . After applying the retroactive application of the

crack cocaine amendment, the defendant receives a two level

reduction in his base offense level from level 26 to level 24 .

However, there is no reduction in his total offense level because

he was deemed to be a career offender . Therefore, pursuant to

USSG §lB1 .10(a)(2)(B), the retroactive amendment does not have

the effect of lowering the defendant's imprisonment guideline

range .




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     Therefore, for the foregoing reasons, defendant's motion to

reduce sentence (document no . 87) is DENIED .

     SO ORDERED .




Date : April 4,2008           /s/ Joseph A . DiClerico, Jr .
                              Joseph A . DiClerico, Jr .
                              United States District Judg e




cc : Luis Antonio Caraballo, pro se
      Counsel of Record




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